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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO.

 

JANE DOE,
A resident of the State of Virginia,

Plaintiff,
V.
CARNIVAL CRUISE LINES,
A Panamanian corporation,

Defendant.

/
COMPLAINT

The Plaintiff JANE DOE files this Complaint against the Defendant,
CARNIVAL CRUISE LINES CORPORATION, a Panamanian corporation, and

alleges:

JURISDICTION, VENUE AND PARTIES

1. This is an action for damages in excess of seventy-five thousand

($75,000.00) dollars, exclusive of interest and costs.

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2s The Plaintiff JANE DOE is a permanent resident of the State of
Virginia. She is sui juris and proceeding in this case through under the pseudonym
JANE DOE due to the nature of the allegations.

3. Defendant CARNIVAL CRUISE LINES is a Panamanian corporation
with its principal place of business in Miami-Dade County, Florida.

4. Subject matter jurisdiction exists, based on diversity of citizenship
pursuant to 28 U.S.C. $1332; as alleged above there is complete diversity in
citizenship of the parties and the amount of damages claimed exceeds the
minimum jurisdictional amount required for diversity of citizenship cases.

5. At all material times, the Defendant has conducted ongoing
substantial and not isolated business activities in Miami-Dade County, Florida, in
the Southern District of Florida, so that in personam jurisdiction exists in the
United States District Court for the Southern District of Florida.

6. At all material times, the Defendant engaged in the business of
operating maritime cruise vessels for paying passengers, including the Plaintiff.

7, As set forth in the ticket contract the Defendant required fare paying
passengers, including Plaintiff JANE DOE, to bring any lawsuit against Defendant
arising out of injuries or events occurring on the cruise voyage in this federal

judicial district. Accordingly, venue is proper in this Court.

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PRELIMINARY ALLEGATIONS

8. At all material times, the Defendant was engaged in the business of
operating maritime cruise vessels for fare paying passengers and for this purpose
operated, among other vessels, the "M/S CARNIVAL SENSATION”, a large
passenger cruise ship registered in the Bahamas.

9. At all material times, Plaintiff JANE DOE was fare paying passenger
aboard the M/S SENSATION and was lawfully present aboard the vessel for the
entire cruise voyage.

10. At all material times Defendant advertised and expressly represented
that it provided featured safe facilities suitable for and expressly intended for
patronage by passengers including unescorted young women such as the Plaintiff
on board the M/S SENSATION. One of the featured facilities was a nightclub
providing music and dancing, known as "Kaleidoscope."

11. At all material times the Defendant expressly represented that the
safety and security of our guests is top priority and that excellent record of safe
operation throughout Carnival's 40-plus year history, comprehensive safety
standards and ships are operated in full compliance with — and in many cases

exceed — all U.S. and international safety regulations.

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12. On or about March 2014, based upon express and implied
representations made by Defendant CARNIVAL, Plaintiff and her female friends
purchased cruise tickets for a “4-Night Bahamas” CARNIVAL cruise. In doing so,
Plaintiff entered into a ticket contract with CARNIVAL. See Exhibit 1. Plaintiff
and her traveling companions intended to enjoy cruising on Defendant
CARNIVAL’s M/S SENSATION from Port Canaveral, Florida to CocoCay, The
Bahamas and Nassau, The Bahamas, and then back to Port Canaveral, Florida.

13. On the evening of September 2, 2014 while aboard the M/S
SENSATION, Plaintiff JANE DOE was a patron of the nightclub facility
"Kaleidoscope."

14. Unknown to JANE DOE, while in "Kaleidoscope" other passengers
identified her as a single young woman unable to protect and/or defend herself
from a forced entry into her stateroom and both physical and sexual assault inside
the stateroom. Defendant made no effort to recognize the risk to JANE DOE
referenced in the previous sentence. Before the scheduled closing time, JANE
DOE left the nightclub facilities to return to her stateroom during the early

morning of September 3, 2014.

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15. At the time and place referenced in paragraph 16, JANE DOE was
followed from the nightclub back to her stateroom by a group of male passengers.
As JANE DOE entered her stateroom, the male passengers forced their way into
the stateroom and physically and sexually attacked, assaulted and battered, and
raped, JANE DOE.

16. The Plaintiff has complied with all conditions precedent to bringing
this action. In particular, on or about October 10, 2014, the Plaintiff sent the
Defendant a written notice of claim as required in the passenger ticket contract.

COUNT I - NEGLIGENCE

17. The Plaintiff adopts, realleges and incorporates by reference all
allegations of Paragraphs | through 16 above and further alleges the following
matters.

18. At all material times, the Defendant owed the Plaintiff, as a fare
paying passenger aboard its cruise vessel, a duty of reasonable care for her safety

and security.

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19. At all material times, the Defendant knew or should have known that
passengers patronizing onboard facilities such as night clubs designated for
passengers, including unescorted young adult females, would require a reasonable
level of security and supervision to and from their staterooms from the Defendants
night club facilities for their safety and security.

20. Defendant alone was in control of all night clubs and public
walkways. Under the control of the vessel exercised by Defendant, single young
women like JANE DOE had no opportunity to provide for their own security and
safety from forced entry into staterooms and other physical and sexual assault from
passengers. Defendant knew or should have known to exercise reasonable care in
order to provide such safety and security to passengers including unescorted young
women returning to staterooms after late night activities in night clubs.

21. At all material times, the criminal attack upon JANE DOE was
reasonably foreseeable to Defendant, and Defendant was in a superior position to
appreciate such dangers and had the authority and control needed undertake all
available necessary measures to prevent harm to their passengers.

22. At all material times, the Defendant failed to exercise reasonable care,

and was thereby negligent, in one or more of the following respects:

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a. Failing to police, patrol, guard, deter and otherwise provide adequate
protection and security for its passengers, when the Defendant knew or should have
known crimes upon the numerous Defendant’s vessel including assaults in or near
passenger stateroom aboard its vessels and other cruise ships in general and that
violent crimes were likely to occur in the absence of such precautions.

b. There were an inadequate number of crewmembers and security
personnel to supervise passengers onboard and at ship's night club facilities.

G Crewmembers supervising passengers onboard and at ship's night club
facilities were inadequately trained to perform their duty of supervision.

d. Crewmembers supervising passengers onboard and at ship's night club
facilities facility were insufficiently attentive to the behavior, needs, status and
circumstances of the passengers leaving to and from night club facilities

e. Crewmembers supervising passengers onboard and at ship's night club
facilities insufficiently monitored the behavior, needs, status and circumstances of
the passengers they were supervising.

f. Crewmembers supervising passengers onboard and at ship's night club
facilities facility were insufficiently attentive to the behavior, needs, status and

circumstances of Plaintiff JANE DOE.

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i. The Defendant made inadequate arrangements for the safe and secure
return of the passengers to their individual quarters, or other safe location after
ships night club facilities closed during the early morning of September 3, 2014.

j. The Defendant failed to deploy a sufficient number of security
personnel to ensure the safe return of the Plaintiff JANE DOE to their state rooms
after ship's night club facilities closed during the early morning of September 3,
2014, in light of Defendant's actual or constructive knowledge of the known risks
and dangers associated with young unescorted single females leaving the nightclub
facilities late at night.

k. Failing to implement adequate security policies, security measures, and
security procedures necessary to protect JANE DOE, and other passengers;

l. Failing to train its security personnel and undertake additional
enhanced security measures after being on actual or constructive notice that the
security measures in force were inadequate;

m. The Defendant at all material times failed to adopt or update as
necessary reasonably needed policies, procedures, training, and education for
passengers appropriate for providing foreseeably needed security services to
passengers specifically where alcoholic beverages are served under the unique

circumstances existing in cruise ship night clubs.

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n. The Defendant at all material times failed to adopt or update as
necessary proper protocols, policies and procedures for providing security services
to passengers in the evening hours.

oO. The Defendant at all material times failed to implement proper
protocols, policies and procedures for providing security services to passengers.

p. The Defendant at all material times failed to implement reasonably
careful protocols, policies and procedures for providing security services to
passengers.

q. The Defendant at all material times failed adequately to train its
security personnel and other crew members in the requirements and procedures for
adequate, safe and secure supervision of the activities of passengers including to
and from night club facilities for passengers and secure supervision of the activities
for its passengers.

S. The Defendant at all material times failed to employ or retain
adequate numbers of properly trained security personnel to deal with the passenger

population actually or constructively known to the Defendant.

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t. The Defendant at all material times failed adequately to warn
passengers, including Plaintiff concerning the past history of sexual assault on
board its vessels, and those of other cruise companies known to Defendant, and
further failed to warn passengers to undertake appropriate precautions to prevent,
deter or minimize risks of such assaults.

u. The Defendant, at all material times, failed to maintain adequate video
surveillance of shipboard facilities and or failed to deploy an adequate number of
security cameras in passenger hallways as needed to provide a reasonably safe
level of security for passengers.

Vv. The Defendant otherwise failed to exercise reasonable care to provide
a reasonable level of safety and security on board its vessels, to deter against
criminal attacked on their vessels including the M/S SENSATION.

WwW. The Defendant failed to implement policies and procedures to screen
passengers for history of violence and criminal backgrounds and other potential
violent crimes.

Me Additional negligent acts not yet discovered.

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23. As a direct and proximate result of one or more the Defendant’s
negligent acts in the preceding paragraph the attack, sexual assault, rape and
battery referred to in paragraphs 14 and 15 occurred, and Plaintiff JANE DOE was
injured in and about her body and extremities, suffered pain therefrom, sustained
mental anguish and emotional and psychological pain and suffering, sustained
disability and the inability to lead a normal life. JANE DOE also incurred
expenses for medical treatment, mental health and behavioral counseling,
psychological services and out of pocket expenses for her care and treatment.
These damages are permanent or continuing in their nature and Plaintiff JANE
DOE will continue to sustain and incur such compensatory damages in the future.

WHEREFORE, the Plaintiff requests judgment in her favor for
compensatory damages and the costs of this action and furthermore demands trial

by jury of all issues so triable as of right.

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CERTIFICATE OF SERVICE

I] HEREBY CERTIFY that on the 13th day of March, 2015, I served all
counsel of record or pro se parties identified on the attached Service List in the
manner specified, either via transmission of Notices of Electronic Filing generated
by CM/ECF or in some other authorized manner for those counsel or parties who

are not authorized to receive electronically Notices of Electronic Filing.

By: /s/NICHOLAS I. GERSON
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